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 1   QUINN EMANUEL URQUHART & SULLIVAN LLP
     Michael E. Liftik (CA Bar No. 232430)
 2   Sarah Heaton Concannon (pro hac vice)
     1300 I Street, Suite 900
 3
     Washington, D.C. 20005
 4   Telephone: (202) 538-8000
     michaelliftik@quinnemanuel.com
 5   sarahconcannon@quinnemanuel.com
 6
     CRAVATH, SWAINE & MOORE LLP
 7   Antony L. Ryan (pro hac vice)
     Kevin J. Orsini (pro hac vice)
 8   Lauren M. Rosenberg (pro hac vice)
     Worldwide Plaza
 9   825 Eighth Avenue
     New York, New York 10019
10
     Tel.: (212) 474-1000
11   Fax: (212) 474-3700
     aryan@cravath.com
12   korsini@cravath.com
     lrosenberg@cravath.com
13
     [Additional Counsel on Signature Page]
14
     Counsel for Defendants Dfinity USA Research LLC,
15
     Dfinity Foundation, and Dominic Williams
16
                              UNITED STATES DISTRICT COURT
17                          NORTHERN DISTRICT OF CALIFORNIA

18
     DANIEL VALENTI, Individually and On Behalf         Case No.: 3:21-cv-06118-JD
19   of All Others Similarly Situated,
                                                        DEFENDANTS’ REPLY
20                               Plaintiff,             MEMORANDUM IN SUPPORT OF
                                                        MOTION TO DISMISS THE
21             v.                                       SECOND AMENDED COMPLAINT
22
     DFINITY USA RESEARCH LLC, DFINITY
23   FOUNDATION and DOMINIC WILLIAMS,                     Date:          August 29, 2024
                                                          Time:          10:00 a.m.
24                               Defendants.              Courtroom:     11, 19th Floor
                                                          Judge:         Hon. James Donato
25

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 1          Dfinity USA Research LLC (“Dfinity USA”), Dfinity Foundation (the “Foundation,” and,

 2   together with Dfinity USA, “Dfinity”), and Dominic Williams (“Mr. Williams,” and together with

 3   Dfinity, “Defendants”) respectfully submit this Reply Memorandum of Law in Further Support of

 4   Their Motion to Dismiss the Second Amended Class Action Complaint (“SAC”). Plaintiffs’

 5   Opposition, see Dkt. 145 (“Opp.”), confirms that dismissal is appropriate, for the reasons explained

 6   in Defendants’ opening brief, see Dkt. 143 (“Mem.”).

 7          First, Plaintiffs’ Opposition fails to meaningfully address the deficiencies in their

 8   Securities Act claims. Instead, Plaintiffs resort to mischaracterizations of controlling law and

 9   conclusory allegations—neither maneuver succeeds. The three-year statute of repose precludes

10   Plaintiffs’ 12(a)(1) claim because Plaintiffs’ allegations confirm that ICP was first offered to the

11   public in 2017. Plaintiffs also fail to allege that any Defendant was a statutory seller.

12          Second, Plaintiffs reassert the inconsistent, contradictory allegations underlying their

13   Exchange Act claims while failing to salvage the inadequately pleaded facts in the SAC. Plaintiffs’

14   inability to articulate plausible theories of falsity, scienter, and loss causation confirms the

15   deficiencies of Plaintiffs’ misstatement claim. The Court should dismiss the SAC in full.

16   I.     PLAINTIFFS’ SECURITIES ACT CLAIMS SHOULD BE DISMISSED.

17          For the reasons explained in Defendants’ opening brief, Plaintiffs’ claims under Section

18   12(a)(1) of the Securities Act fail both because (i) the allegations in the SAC make clear that those

19   claims are barred by the applicable three-year statute of repose, see Mem. at 4-6, and (ii) Plaintiffs

20   fail to adequately allege that any Defendant is a “statutory seller,” see id. at 6-8.

21          A.      The Statute of Repose Bars Plaintiffs’ Claims.

22          Relying on out-of-circuit cases—the most recent of which was decided over twenty years

23   ago—Plaintiffs argue that the Securities Act’s three-year statute of repose does not apply to

24   Section 12(a)(1) claims. See Opp. at 4-5. Since then, courts have repeatedly held otherwise,

25   relying upon the Second Circuit’s well-reasoned opinion in P. Stolz Fam. P’ship L.P. v. Daum,

26   355 F.3d 92 (2d Cir. 2004). See, e.g., Hollifield v. Resolute Cap. Partners Ltd., 2023 WL 8170334,

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 1   at *2 (C.D. Cal. Oct. 2, 2023) (calling Stolz the “leading Second Circuit decision” on the issue). 1

 2   Indeed, another court in this District recently applied Stolz to find that Section 12(a)(1) claims

 3   were foreclosed by the Securities Act’s three-year statute of repose. See In re Ripple Labs, Inc.

 4   Litig., 2024 WL 3074379, at *2-4 (N.D. Cal. June 20, 2024) (finding that “vastly increased” efforts

 5   to market and publicize the digital asset and list it on additional exchanges later in time were not

 6   “inconsistent with [asset] being publicly offered for sale years earlier”).2

 7          Plaintiffs argue that the first bona fide offer of ICP did not occur until May 2021. See Opp.

 8   at 5 (citing SAC ¶¶ 29-32). But the SAC alleges that Dfinity first offered ICP to the public shortly

 9   after February 2017, when “Williams announced that the Foundation would fundraise for the

10   blockchain’s development ‘by collecting donations in public ‘seed’ and ‘main’ rounds,’” which

11   would be rewarded proportionally in ICP tokens. SAC ¶ 29. There was nothing “simulated” about

12   this offering. Stolz, 355 F.3d at 99. Indeed, Plaintiffs allege that contributors to this “public” seed

13   round did indeed receive the ICP that was first offered in February 2017.              See SAC ¶ 53.

14   Accordingly, at the time of the 2017 seed round ICP was “(genuinely) being offered to the public.”

15   Stolz, 355 F.3d at 99. Plaintiffs cite no authority for their suggestion that, because ICP tokens were

16   purportedly not delivered “or traded” until May 2021, the Court should disregard bona fide offers

17   of ICP in 2017. The statute is clear that the repose period begins to run at the time an alleged

18   security is “offered”—2017, rendering Plaintiffs’ Section 12(a)(1) claims untimely. Mem. at 5-6.

19          Plaintiffs try to avoid this by pointing to other allegations in the SAC that purportedly

20   demonstrate that “no ICP tokens were issued, sold, or otherwise made available” at the time of the

21   seed round. See Opp. at 5. Not only is this irrelevant to when ICP was first offered, but these

22   conclusory allegations expressly contradict allegations in Plaintiffs’ First Amended Complaint

23   1 All emphasis is added and quotations and citations omitted unless otherwise noted.
24   2 Plaintiffs’ reliance on the Ripple Labs court’s earlier-in-time decision is therefore misplaced.
     See Opp. at 5 (citing Zakinov v. Ripple Labs, Inc., 2020 WL 922815, at *9 (N.D. Cal. Feb. 26,
25   2020)). In that decision, see Opp. at 5, the court could not conclude that the statute of repose began
     before the issuer rapidly accelerated its sale of the digital asset to the public because “the [earlier]
26
     sales activity” “[did] not show that defendants targeted the general public when offering to sell”
27   that asset. Id. at *9. Not so here. Indeed, Plaintiffs’ argument is focused not on whether the seed
     round targeted the general public, but on whether it constituted an offer at all. See Opp. at 5-7.
28   As Defendants have explained herein and in their opening brief, it did. See Mem. at 5-6.
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 1   (“FAC”). See Mem. at 5-6; FAC ¶¶ 36, 54. As the Ninth Circuit has recognized, “[a] party cannot

 2   amend pleadings to directly contradict an earlier assertion made in the same proceeding.” Airs

 3   Aromatics, LLC v. Victoria’s Secret Stores Brand Mgmt., Inc., 744 F.3d 595, 600 (9th Cir. 2014).

 4   And while Plaintiffs cite authority purportedly holding otherwise, Opp. at 6-7, courts reconciling

 5   this inconsistent Ninth Circuit case law have found that “when evaluating an amended complaint,

 6   the court may also consider the prior allegations as part of its context-specific inquiry based on its

 7   judicial experience and common sense to assess whether an amended complaint plausibly suggests

 8   an entitlement to relief.” McKenna v. WhisperText, 2015 WL 5264750, at *3 (N.D. Cal. Sept. 9,

 9   2015) (dismissing claims). The Court should do so here.

10           B.      Plaintiffs Fail To Allege That Any Defendant Was a “Statutory Seller.”

11           Liability under Section 12(a)(1) attaches only to defendants who (i) directly pass title in an

12   alleged security to the plaintiff, or (ii) directly and successfully solicit the plaintiff ’s purchase of

13   the alleged security. See Mem. at 6-8; Pinter v. Dahl, 486 U.S. 622, 641-42 (1988).

14           Plaintiffs concede that they do not allege any Defendant passed title in ICP to them. See

15   Mem. at 6; Opp. at 7-10. Accordingly, Plaintiffs must allege that Defendants successfully solicited

16   Plaintiffs’ alleged purchases of ICP, via a communication “directed at producing the sale” of ICP.

17   Pinter, 486 U.S. at 646. Put another way, Plaintiffs must allege that Defendants “‘urge[d] or

18   persuade[d]’ another—in this case, Plaintiffs—“to buy[.]” Pino v. Cardone Cap., LLC, 55 F.4th

19   1253, 1258 (9th Cir. 2022). Plaintiffs do not do so. While the SAC attributes various statements

20   to Mr. Williams, the SAC fails to identify which (if any) of those alleged statements qualify as

21   “solicitation,” much less which (if any) of those alleged statements purportedly “urge[d] or

22   persuade[d]” any purchase of ICP. None of those alleged statements did so. See Mem. at 6-7

23   (addressing SAC ¶¶ 34-37, 40-41, 43, 45-47). Plaintiffs’ Opposition argues that because these

24   statements “disseminated []information” concerning ICP to would-be purchasers, the alleged

25   statements satisfy Pinter’s second prong. See Opp. at 7-8. But this ignores both the Supreme

26   Court’s and the Ninth Circuit’s focus on the content of the alleged communications in assessing

27   whether they qualify as solicitations. See Pinter, 486 U.S. at 644 (“A natural reading of the

28   statutory language would include in the statutory seller status at least some persons who urged the
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 1   buyer to purchase.”). While Pino addressed the means of communication that may qualify as

 2   solicitation, the communications in Pino unquestionably urge the purchase of an alleged security:

 3   “I am offering investment opportunities to the everyday investor, like you!” and, “you’re gonna

 4   walk away with a 15% annualized return.” Pino, 55 F.4th at 1256. The only Ninth Circuit opinion

 5   to apply Pino—which Plaintiffs also cite in their Opposition (at 8)—similarly noted that Pino’s

 6   “broad[]” definition of solicitation involved “applying [that definition] to various mechanisms

 7   used to ‘urge or persuade’ another to buy a particular security.” In re Genius Brands Int’l, Inc.

 8   Sec. Litig., 97 F.4th 1171, 1177, 81 (9th Cir. 2024) (solicitation involved “retain[ing] a securities

 9   promotion company. . . to promote [defendants’] securities” through “writing and disseminating

10   favorable articles”). Plaintiffs fail to allege any such conduct. 3

11          Plaintiffs’ Section 12(a)(1) claims also fail because Plaintiffs do not allege that these

12   purported solicitations were successful. See Mem. at 7-8. The SAC fails to allege that Plaintiffs

13   purchased ICP in connection with any alleged statement made by Defendants, or that Plaintiffs

14   were even aware of such statements. Plaintiffs’ Opposition does not dispute this. Instead,

15   Plaintiffs assert that they need not allege that either Plaintiff purchased ICP in connection with any

16   particular solicitation, and incorrectly contend that Defendants “inject a non-existent reliance

17   element into Section 12(a)(1).” Opp. at 9. This misconstrues Defendants’ argument. Pinter is

18   clear that Section 12(a)(1)’s reach extends to those who are not parties to the transaction at issue

19   only if “the defendant’s relationship with the plaintiff-purchaser” was such that the defendant

20   “successfully solicit[ed] a purchase.” Pinter, 486 U.S. at 646, 651. Plaintiffs’ argument that

21   “Pinter’s use of ‘successfully’ means only that there is no liability unless ‘a sale has taken place,’”

22   Opp. at 9, mischaracterizes that opinion’s reasoning. As the Supreme Court explained, the

23   requirement that “a sale has taken place” flows from “[t]he second clause of § 12(1),” 486 U.S. at

24   643, which states that a seller “shall be liable … to the person purchasing such security from him,”

25   15 U.S.C. § 77l(a). In articulating how that requirement applies in the context of a solicitation, the

26   3  Plaintiffs’ reliance on Houghton v. Leshner, 2023 WL 6826814, at *3 (N.D. Cal. Sept. 20, 2023),
27   is similarly misplaced. In Houghton, the plaintiffs also alleged defendants made statements urging
     the purchase of the at-issue asset. See 2023 WL 6826814, at *1 (noting “public comments” “meant
28   to encourage the public to purchase COMP tokens”).
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 1   Court analogized to a security broker who “successfully solicits a purchase” from a specific

 2   “buyer” whom the broker solicited. Pinter, 486 U.S. at 646 (collecting cases with similar

 3   circumstances). Thus, only a successful solicitation connected with a resultant sale can render the

 4   soliciting party liable for the plaintiff’s purchase. Plaintiffs allege no such connection. See Mem.

 5   at 7-8. Plaintiffs fail adequately to allege that any Defendant qualifies as a statutory seller.4

 6   II.    PLAINTIFFS’ FRAUD CLAIMS SHOULD BE DISMISSED.

 7          Plaintiffs fail to plead any actionable misrepresentations, scienter, or loss causation. See

 8   Mem. at 8-19. Each of these failures is fatal to Plaintiffs’ Section 10(b) claim.

 9          A.      Plaintiffs Fail To Allege Actionable Misstatements or Omissions.

10          Plaintiffs cannot base their Section 10(b) claim on any purported omissions by Defendants

11   because Plaintiffs fail to adequately plead (i) any duty to disclose the allegedly omitted information

12   or (ii) that the alleged omissions affirmatively created an impression that differed materially from

13   the one that existed at the time. See Mem. at 13-14; Kang v. PayPal Holdings, Inc., 620 F. Supp.

14   3d 884, 897 (N.D. Cal. 2022); Brody v. Transitional Hosps. Corp., 280 F.3d 997, 1006 (9th Cir.

15   2002). Plaintiffs’ Opposition abandons any argument that Defendants had a duty to disclose. See

16   Opp. at 10-14; Qureshi v. Countrywide Home Loans, Inc., 2010 WL 841669, at *6 n.2 (N.D. Cal.

17   Mar. 10, 2010) (failure to address allegations challenged in motion to dismiss constitutes

18   “abandonment of those claims”). Yet, the Opposition confirms that Plaintiffs are seeking to hold

19   Defendants liable for purported omissions related to ICP lock-ups, rather than for affirmative

20   misstatements about same. See Opp. at 12-13. But Plaintiffs cannot recover for allegedly omitted

21   information about lock-ups as there is no duty to disclose and Plaintiffs fail to explain how omitting

22   that information affirmatively created any false impression. Putting aside these broader failures,

23

24
     4  The Opposition briefly argues that whether a solicitation in fact occurred is a question for the
25   jury. See Opp. at 9 n.5. This is beside the point. The one case Plaintiffs cite concerned whether
     allegations that the defendants signed “Offering Materials” and participated in an “Investor Day,”
26
     taken as true, plausibly alleged solicitation—not whether plaintiffs had plausibly alleged those
27   efforts were successful. See Pirani v. Slack Techs., Inc., 445 F. Supp. 3d 367, 385 (N.D. Cal.
     2020), aff’d, 13 F.4th 940 (9th Cir. 2021), vacated on other grounds and remanded sub nom. Slack
28   Techs., LLC v. Pirani, 598 U.S. 759 (2023).
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 1   Plaintiffs further fail to allege actionable misstatements for the following reasons. 5

 2          Statements 1-4. Plaintiffs’ Opposition groups Statements 1-4 together, characterizing

 3   these statements as having “misled investors about Dfinity’s sales of ICP and corresponding

 4   lockups.” Opp. at 11. The Opposition asserts that these statements suggested that (i) Defendants

 5   did not sell at Genesis (whereas Plaintiffs allege they did) and (ii) “Defendants’ employees and

 6   affiliates, such as ICA, were subject to lockups and restrictions” (whereas Plaintiffs allege they

 7   were not). Id. at 11. Both arguments fail.

 8          First, Plaintiffs’ allegations regarding ICP sales at Genesis do not show that Statements 1-

 9   4 were false or misleading, as the SAC is devoid of any well-pleaded factual allegations that the

10   Defendants in this action—Dfinity USA, the Foundation, or Mr. Williams—or anyone else

11   identified in Statements 1-4 sold ICP following Genesis. See Mem. at 9-11. Plaintiff’s attempted

12   sleight of hand—conflating Defendants with “employees” and “affiliates” who are not

13   defendants—fails. See, e.g., Opp. at 11 (“[T]hese statements misled investors into believing that

14   Defendants’ employees and affiliates, such as ICA, were subject to lockups and restrictions . . .

15   But these Defendant groups, in fact, sold ICP at launch.”) (emphasis added). Plaintiffs’ Opposition

16   also does not dispute that the SAC contains no allegations that Mr. Williams himself engaged in

17   any sales of ICP. See Opp. at 16.

18          As Plaintiffs’ concede, the principal allegations relied on in the SAC concern purported

19   transfers of ICP among accounts “apparently belonging to Dfinity, its employees, and its

20   affiliates.” Opp. at 11. Not only are these “transfers” not sales, but Plaintiffs expressly allege that

21   the “transfer” recipients included third parties, such as former employees and the ICA. See id. at

22   11; SAC ¶¶ 58-59 (alleging transfers to “accounts [on trading platforms] apparently belonging to

23   Dfinity, its team members or other Dfinity insiders”). Underscoring Plaintiffs’ failure to allege

24   that any Defendant sold ICP at Genesis, the SAC alleges, in two separate but equally conclusory

25   statements, that the Foundation began selling ICP following Genesis at different times. See Mem.

26   at 11; compare SAC ¶ 55 (alleging that “Foundation began making significant sales of ICP tokens

27
     5  For the Court’s convenience, Defendants adopt the Opposition’s categorization of the statements
28   at issue, noting where arguments for dismissal overlap.
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 1   as soon as the ICO launched on May 10, 2021”) with id. ¶ 133(d) (alleging that “Foundation had

 2   begun selling ICP on exchanges no later than May 24, 2021”). Neither the SAC nor the Opposition

 3   attempt to explain this discrepancy. “[T]he Court need not accept inconsistent allegations in a

 4   complaint as true.” Sacco v. Mouseflow, Inc., 2022 WL 4663361, at *2 (E.D. Cal. Sept. 30, 2022).

 5          Moreover, Plaintiffs rest their allegations about transfers and sales of ICP—including those

 6   purportedly made by the Internet Computer Association (“ICA”)—entirely on (i) the Arkham

 7   Report, see SAC ¶¶ 58-59, and (ii) the accounts of confidential witnesses, see id. ¶¶ 60-61. Neither

 8   set of allegations is well-pleaded. As to the Arkham Report, Plaintiffs fail to allege any facts

 9   identifying the basis for that report’s conclusions, why the unidentified author of the Arkham

10   Report was in a position to personally know the information at issue, or any reason why that report

11   is reliable. See Mem. at 9. Plaintiffs’ Opposition does not argue otherwise. Instead, Plaintiffs cite

12   two cases where courts allowed allegations based on short seller reports. See Opp. at 12. But

13   plaintiffs in those cases had alleged facts addressing the reliability of the reports at issue. See

14   Snellink v. Gulf Res., Inc., 870 F. Supp. 2d 930, 938 (C.D. Cal. 2012) (short seller report relied

15   upon “comprehensive[] report” issued by another identified third party); Henning v. Orient Paper,

16   Inc., 2011 WL 2909322, at *4 (C.D. Cal. July 20, 2011) (plaintiffs relied upon credit reports

17   prepared by third party for plaintiffs). Plaintiffs do not do this. Further, the Arkham Report itself,

18   on which Plaintiffs rely and which is therefore incorporated by reference, acknowledges that its

19   authors “do not have clear and direct evidence that these deposited [ICP] tokens were sold.” See

20   Arkham Intelligence Inc., “Report on the Internet Computer Token,” June 28, 2021,

21   https://www.arkhamintelligence.com/research/reports/icp-report.       For these reasons, the Court

22   should disregard the allegations in the SAC attributed to speculative, unsupported assertions in the

23   Arkham Report. See Applestein v. Medivation, Inc., 861 F. Supp. 2d 1030, 1039 (N.D. Cal. 2012),

24   aff’d, 561 F. App’x 598 (9th Cir. 2014) (disregarding allegations based upon “speculation” from

25   identified witness that was not based on the witness’s personal knowledge).

26          As to Plaintiffs’ reliance on confidential witnesses, see SAC ¶¶ 60-61, Plaintiffs fail to

27   allege facts establishing those witnesses’ reliability and personal knowledge with the requisite

28   particularity. See Mem. at 10; Nat’l Elevator Indus. Pension Fund v. Flex Ltd., 2021 WL 6101391,
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 1   at *1 (9th Cir. Dec. 21, 2021). Plaintiffs do not dispute that their allegations fail to meet this

 2   standard. See Opp. at 11 n.8. Instead, Plaintiffs argue, in a footnote, that they need not meet this

 3   standard because their allegations are “based on both information from Dfinity whistleblowers and

 4   public data from Dfinity’s native blockchain, which corroborates the whistleblowers’ allegations.”

 5   See id. (citing SAC ¶ 60). This argument misses the mark. First, the SAC fails to identify which

 6   allegations are purportedly based on “public data from Dfinity’s native blockchain” rather than

 7   anonymous “Dfinity whistleblowers.” See SAC ¶ 60. Nor do the allegations in the referenced

 8   paragraph concerning transfers of ICP from the Foundation to the ICA corroborate the confidential

 9   witnesses’ allegations concerning sales. See id. Finally, to the extent these “corroborat[ive]”

10   allegations are based on the Arkham Report, those allegations are no better or more reliable than

11   the allegations of anonymous whistleblowers. See Applestein, 861 F. Supp. 2d at 1039.

12          Second, Plaintiffs’ allegations regarding undisclosed information about lock-ups and

13   restrictions, Opp. at 11, similarly do not render Statements 1-4 false or misleading. Statements 1

14   & 4 do not even mention lock-ups or similar restrictions at all. See id.; SAC ¶¶ 133(d) & (g).

15   Neither Plaintiffs’ Opposition nor the SAC explains why, in the absence of any duty to disclose,

16   see supra, p. 5, Mr. Williams was obligated to disclose information about lock-ups applicable to

17   “Defendants’ employees and affiliates” in statements that had nothing to do with lock-ups or sales

18   restrictions. Moreover, as explained in Defendants’ opening brief, Statement 4—that former

19   employees sold ICP at launch—actually discloses that former employees were not subject to lock-

20   ups at launch. See Mem. at 11-12; SAC ¶ 133(g).

21          Moreover, Statement 2 expressly identifies “the foundation, founders and directors” as

22   being subject to regulatory lock-ups. See SAC ¶ 133(e). Statement 3 similarly and expressly

23   identifies “the foundation and key early team members” as being subject to regulatory lock-ups

24   “at launch for a week.” See id. ¶ 133(b). Plaintiffs allege that these statements were false or

25   misleading because they failed to disclose that other “affiliates and employees” were purportedly

26   not subject to lock-ups. See id. ¶¶ 133(b) & (e); Opp. at 12. But both the SAC and the Opposition

27   fail to explain how these statements, about specific individuals and entities that were subject to

28   specific lock-up restrictions, “affirmatively create[d] an impression” that everyone else previously
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 1   or currently associated with Dfinity was also subject to such restrictions—as Plaintiffs must do for

 2   these alleged omissions to be actionable. Brody, 280 F.3d at 1006; see also Mem. at 8-9.

 3          Plaintiffs’ Opposition tries to salvage Plaintiffs’ allegations as to Statement 3 only—that

 4   “key early team members were locked up at launch for a week,” SAC ¶ 133(b)—by asserting that

 5   the statement “did not distinguish between current or former Dfinity employees,” Opp. at 12.

 6   Plaintiffs’ Opposition does not explain how that purported failure to distinguish rendered the

 7   statement misleading, and the SAC is devoid of any allegations on this point. Furthermore,

 8   Plaintiff does not allege that, in fact, key early team members were not locked up. As such,

 9   Plaintiffs fail to allege Statements 1-4 contained any actionable misstatements or omissions.

10          Statement 5. Plaintiffs’ Opposition next asserts that Mr. Williams’s statement that “Seed

11   Donors” were “divesting their ICP tokens” is actionable because other parties—including third

12   parties—allegedly sold ICP in larger relative quantities than did seed round participants. See Opp.

13   at 13; SAC ¶ 133(f). But Plaintiffs concede that other alleged statements by Mr. Williams show

14   that Statement 5 was “literally true.” See Mem. at 11-12. As such, Plaintiffs must plead that, at

15   the time Mr. Williams made Statement 5, he had a duty to disclose that other parties, including

16   third parties, were allegedly also selling ICP at Genesis. See id. at 13-14. Plaintiffs fail to allege

17   that any such duty existed, and they fail to explain why Mr. Williams’s failure to disclose this

18   information affirmatively created any false impression. See Opp. at 13. Moreover, the full context

19   of the statement makes clear that Mr. Williams did disclose that other parties, such as former

20   employees, had sold ICP at Genesis. See Mem. at 11 n.7; Liftik Decl. Ex. B. Plaintiffs fail to

21   meaningfully address this, and instead vaguely claim that “[Defendants] are trying to hide behind

22   these sales by former employees to distract from” Defendants’ purported sales of ICP. Opp. at 13.

23   But “pleading ‘a scheme to defraud’ with the particularity required under the PSLRA necessitates

24   more than allegations that a company made true statements about its business in an attempt to

25   ‘distract the market.’” In re Harmonic Inc., 2002 WL 31974384, at *14 n.13 (N.D. Cal. Nov. 13,

26   2002), rev’d in part on other grounds and remanded sub nom. Knollenberg v. Harmonic, Inc., 152

27   F. App’x 674 (9th Cir. 2005). Plaintiffs fail to allege Statement 5 is actionable.

28          Statement 6. Plaintiffs next argue that Statement 6—Mr. Williams’s tweet that “the
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 1   “Foundation didn’t vest itself but plans on putting most of its ICP into neurons,” SAC ¶ 133(c)—

 2   was misleading because it gave the impression that the Foundation was “not selling large numbers

 3   of ICP tokens,” Opp. at 13-14. For the reasons explained above, see supra, pp. 6-7, Plaintiffs fail

 4   to adequately allege that Foundation engaged in any sales of ICP at Genesis.

 5          Statement 7. Finally, Plaintiffs contend that Statement 7—Mr. Williams’s statement that

 6   “[i]t is very important that the flow of liquid ICP tokens around the network is released on a

 7   schedule,” SAC ¶ 133(a)—was misleading because Mr. Williams failed to make various

 8   disclosures regarding vesting periods and purported sales of ICP. See Opp. at 14. But the

 9   Opposition merely restates the SAC’s conclusory allegations and makes no attempt to explain why

10   Mr. Williams had a duty to disclose any of this information or why his purported failure to do so

11   affirmatively created an impression of a state of affairs that differed materially from the one that

12   actually existed. Statement 7 said nothing about whether the Foundation was “subject to any

13   vesting schedule” or whether it could or would sell ICP tokens at launch. Id. at 14. Indeed, in

14   context, it is clear that Mr. Williams was referring to lock-ups and vesting schedules applicable to

15   those who received ICP through the 2017 seed round and 2018 “Airdrop.” See Mem. at 13; Liftik

16   Decl. Ex. B. Plaintiffs’ Opposition concedes this point. See Opp. at 14. Moreover, for reasons

17   explained above, Plaintiffs fail to adequately allege that any Defendant sold ICP tokens at Genesis.

18   See supra, pp. 6-7. Finally, as explained in Defendants’ opening brief, Statement 7 is inactionable

19   for the independent reason that Mr. Williams’s statement is quintessential puffery and opinion.

20   See Mem. at 13; In re Terravia Holdings, Inc. Sec. Litig., 2020 WL 553939, at *5-6 (N.D. Cal.

21   Feb. 4, 2020). Plaintiffs’ Opposition concedes this point as well.

22          Plaintiffs fail to plead Statements 1-7 contained any actionable misstatements or omissions.

23          B.      Plaintiffs Fail To Allege a Strong Inference of Scienter.

24          Plaintiffs’ Opposition similarly fails to save the SAC’s conclusory and inadequate

25   allegations of scienter. First, Plaintiffs fail to adequately allege that Mr. Williams acted with the

26   requisite state of mind, which Plaintiffs concede must rise above simple recklessness. See Opp. at

27   15. To adequately plead such knowledge, Plaintiffs must allege “specific facts indicating no less

28   than a degree of recklessness that strongly suggests actual intent.” Metzler Inv. GMBH v.
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 1   Corinthian Colleges, Inc., 540 F.3d 1049, 1066 (9th Cir. 2008). Plaintiffs do not do so. See Mem.

 2   at 14-16. Plaintiffs point only to (i) general statements by Mr. Williams regarding ICP and sales

 3   restrictions and (ii) Mr. Williams’s purported involvement in selling ICP at Genesis. Opp. at 15.

 4   But none of these general statements concerns the specific lock-ups and restrictions that Plaintiffs

 5   allege Mr. Williams failed to disclose. See SAC ¶ 34 (concerning a 2017 statement about

 6   “incentive packages” applicable to “founders and key technical personnel”); id. ¶¶ 37, 52

 7   (concerning Mr. Williams’s intent, in 2020, to voluntarily stake ICP in neurons). Some of these

 8   statements do not concern sales restrictions at all, see id. ¶¶ 37-38, 42-46, 47-48, as Plaintiffs

 9   acknowledge, see Opp. at 15. Nevertheless, Plaintiffs argue—without any support—that Mr.

10   Williams “necessarily” had knowledge of the allegedly omitted information “given his position.”

11   Id. As Defendants have already explained, such conclusory, circular allegations are insufficient.

12   See Mem. at 14-15. And the cases Plaintiffs cite on this point are inapt.6

13          Plaintiffs also rely on allegations—based only on the accounts of confidential witnesses—

14   that Mr. Williams “attend[ed] a meeting regarding ICP dumping at Genesis” and “direct[ed] ICA’s

15   transfers at Genesis.” Opp. at 17. But again, Plaintiffs fail to adequately allege that this “dumping”

16   and these transfers even occurred. Supra, pp. 6-7. Moreover, confidential witness accounts are

17   the only basis for Plaintiffs’ assertion that Mr. Williams was involved in any purported sales. See

18   ¶ 60. Plaintiffs cannot point to any well-pleaded factual allegations that “corroborate[] the

19   whistleblowers’ allegations” on this point, Opp. at 11 n.8, rendering those witnesses’ accounts of

20   this particular alleged fact uniquely unreliable, see Mem. at 10.

21          Second, Plaintiffs also fail to allege any particularized facts suggesting Mr. Williams had

22

23   6  Two of the cases relied upon by Plaintiffs, Opp. at 15-16, involved well-pleaded factual
     allegations concerning the individual defendants’ involvement in the alleged frauds. See Glazer
24   Cap. Mgmt., L.P. v. Forescout Techs., Inc., 63 F.4th 747, 772 (9th Cir. 2023) (allegations from
     multiple, reliable confidential witnesses regarding defendants’ involvement in fraud); In re
25   VeriFone Holdings, Inc. Sec. Litig., 704 F.3d 694, 710 (9th Cir. 2012) (allegations of individual
     defendants’ “hands-on” involvement in operational details of company). The SAC contains no
26   such allegations. The third case applied the “core operations” theory and deemed it absurd that
     pharmaceutical executives could be unaware that their company’s products were substandard and
27   non-compliant with regulations. See Mulligan v. Impax Lab’ys, Inc., 36 F. Supp. 3d 942, 970
     (N.D. Cal. 2014) (noting that the company received multiple warnings from regulators and failed
28   multiple inspections). There is no comparison to the allegations here (and Plaintiffs make none).
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 1   a motive to conceal the allegedly omitted facts. See Mot. at 16-17. Plaintiffs effectively concede

 2   that they do not allege any sales of ICP by Mr. Williams. See Opp. at 16. Instead, they argue that

 3   Mr. Williams had a general “financial incentive” not to disclose the allegedly concealed

 4   information due to his general interest in the “success of Dfinity’s network.” Id. These generalized

 5   allegations of motive are inadequate and negated by Plaintiffs’ failure to allege that Mr. Williams

 6   personally engaged in any sales of ICP. See In re Sorrento Therapeutics, Inc. Sec. Litig., 97 F.4th

 7   634, 643 (9th Cir. 2024) (where plaintiff “identifies no individual stock sales” plaintiff “has not

 8   made the requisite showing of trading history necessary to raise an inference of scienter”); see also

 9   Wozniak v. Align Tech., Inc., 2011 WL 2269418, at *14 (N.D. Cal. June 8, 2011) (allegations of

10   sales by insiders insufficient). Plaintiffs also fail to explain why, if Mr. Williams had an incentive

11   to conceal, he allegedly revealed that information shortly after Genesis. See Mem. at 17. These

12   contradictory allegations, coupled with Plaintiffs’ failure to allege any sales by Mr. Williams,

13   further underscore the deficiencies in Plaintiffs’ scienter allegations. See Mem. at 17; Glaser v.

14   The9, Ltd., 772 F. Supp. 2d 573, 593 (S.D.N.Y. 2011). Plaintiffs’ Opposition entirely fails to

15   address these points.

16          C.      Plaintiffs Fail To Allege Loss Causation.

17          Plaintiffs do not dispute that they must allege (i) corrective disclosures that revealed the

18   information purportedly concealed or omitted by Mr. Williams’s statements and (ii) that such

19   disclosures caused ICP’s price to decline as a result. See Opp. at 17. Failure to connect a specific

20   corrective disclosure to a particular alleged misstatement is grounds for dismissal. See, e.g., Hoang

21   v. ContextLogic, Inc., 2023 WL 6536162, at *28 (N.D. Cal. Mar. 10, 2023). Plaintiffs’ allegations

22   accordingly must be dismissed. See Mem. at 18-19.

23          Plaintiffs’ Opposition confirms that their loss causation theory is internally inconsistent: it

24   requires the Court to draw contradictory inferences from identical statements. Plaintiff ’s theory

25   hinges on “four partial corrective disclosures,” occurring over the course of almost six weeks. See

26   Opp. at 18; SAC ¶ 148. Plaintiffs focus their defense on just one such alleged disclosure:

27   Mr. Williams’s May 18, 2021 statement that “the foundation and key early team members were

28   locked up at launch for a week,” Opp. at 18, which Plaintiffs also allege was an actionable
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 1   misstatement, see SAC ¶¶ 133(b), 148(a). But Plaintiffs’ Opposition just confirms the incoherence

 2   and inadequacy of Plaintiffs’ loss causation allegations. According to Plaintiffs, Mr. Williams’s

 3   May 18 statement “was a partial disclosure that Defendants were looking to sell ICP at its launch.”

 4   Opp. at 18. But this explanation is squarely at odds with Plaintiffs’ explanation as to why this

 5   statement was simultaneously misleading. See Opp. at 11 (arguing that Statement 3 “created the

 6   false impression that Defendants did not sell ICP immediately following the launch and . . . misled

 7   investors into believing that Defendants’ employees and affiliates[,] were subject to lock-

 8   ups”). Plaintiffs cannot simultaneously argue two contradictory interpretations of the same

 9   statement, claiming that it both (a) misled ICP purchasers into believing that Defendants could not

10   sell, while also (b) disclosing that Defendants were looking to sell. See, e.g., Hernandez v. Select

11   Portfolio, Inc., 2015 WL 3914741, at *10 (C.D. Cal. June 25, 2015) (“Contradictory allegation . . .

12   are inherently implausible, and fail to comply with Rule 8, Twombly, and Iqbal.”).

13          Such contradictory allegations are uniquely impermissible in the securities fraud context,

14   for reasons the Second Circuit explained in In re Flag Telecom Holdings, Ltd. Sec. Litig, 574 F.3d

15   29 (2d Cir. 2009). There, plaintiffs pointed to partial corrective disclosures that “appear[ed] in

16   their complaint in the context of [d]efendants’ misleading statements themselves.” 574 F.3d at 41.

17   The Second Circuit confirmed such contradictory allegations were inadequate, as allowing

18   plaintiffs to have it both ways would impermissibly “transform a private securities action into a

19   partial downside insurance policy.” Id. (quoting Dura Pharms., Inc. v. Broudo, 544 U.S. 336, 347-

20   8 (2005)). Plaintiffs do not meaningfully respond, and instead cite several cases that purportedly

21   allow a more “flexible,” “context-dependent” inquiry. Opp. at 17-18. None of those cases excuses

22   Plaintiffs’ reliance on inherently contradictory allegations. See Mineworkers’ Pension Scheme v.

23   First Solar Inc., 881 F.3d 750, 754 (9th Cir. 2018) (holding only that loss causation may be shown

24   by pointing to revelations of concealed facts, even if revelations did not reveal fraudulent

25   concealment itself); In re BofI Holding, Inc. Sec. Litig., 977 F.3d 781, 792 (9th Cir. 2020) (holding

26   that allegations from lawsuit can serve as corrective disclosure).

27          Plaintiffs’ second and third alleged disclosures fare no better. Plaintiffs similarly allege

28   both were simultaneously misleading and corrective, for contradictory reasons. Plaintiffs allege
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 1   that the second corrective disclosure—Mr. Williams’s statement that the “Foundation didn’t vest

 2   itself,” SAC ¶ 148(b)—purportedly “revealed that Dfinity and its affiliates” “had the ability to sell

 3   ICP at launch and that their ICP tokens were not subject to strict lockup and vesting requirements.”

 4   Opp. at 18. But Plaintiffs simultaneously assert that this statement “gave investors the misleading

 5   impression that the Foundation was not selling large numbers of ICP.” Opp. at 13-14 (“Statement

 6   6”). Likewise, Plaintiffs allege that the third purported disclosure—that “a significant portion of

 7   the irresponsible token divesting stemmed from former employees,” SAC ¶¶ 133(g), 148(c)—was

 8   both misleading (an attempt to “distract” from purported sales made by Defendants, Opp. at 13)

 9   and corrective (as it “disclosed . . . that ‘former employees’ had been able to sell a significant

10   amount of ICP tokens,” SAC ¶ 148(c)). These contradictory allegations are self-defeating.

11          Finally, Plaintiffs fail to meaningfully defend their fourth alleged corrective disclosure:

12   that “ICP dropped by an additional 40% between June 11 and June 22, 2021,” as “investors had

13   realized that Dfinity and its team had sold a significant amount of ICP on the market . . . as

14   demonstrated by discussions on Reddit from June 11 to June 22.” SAC ¶ 148(d). This allegation

15   does not specify what undisclosed information was communicated in these “discussions on

16   Reddit,” who was involved in those discussions, or how such discussions corrected any previous

17   statements by Mr. Williams. See Mem. at 19. “Plaintiffs do not explain what new information

18   concerning [Defendants’] business practices [these “discussions”] revealed or how the[y]

19   otherwise exposed” the falsity of Mr. Williams’s statements.       In re Herbalife, Ltd. Sec. Litig.,

20   2015 WL 12732428, at *3 (C.D. Cal. Mar. 27, 2015) (granting motion to dismiss). At bottom, and

21   contrary to Plaintiffs’ protests (Opp. at 19), this fourth corrective disclosure is nothing more than

22   an allegation of “a general decline in valuation,” like that the Ninth Circuit found inadequate in

23   Irving Firemen’s Relief & Ret. Fund v. Uber Techs., Inc., 998 F.3d 397, 409 (9th Cir. 2021).

24   III.   PLAINTIFFS’ SECTION 20A CLAIMS SHOULD BE DISMISSED.

25          To state a claim under Section 20A of the Exchange Act, Plaintiffs must plead both a

26   primary violation as well as facts showing that plaintiffs and defendants traded in the alleged

27   security contemporaneously with one another. See Mem. at 19-20; SEB Inv. Mgmt. AB v. Align

28   Tech., Inc., 485 F. Supp. 3d 1113, 1135 (N.D. Cal. 2020). As explained above, Plaintiffs fail to
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 1   allege a predicate violation of the Exchange Act; their Section 20A claims fail for that reason

 2   alone. See, e.g., In re VeriFone Sec. Litig., 11 F.3d 865, 872 (9th Cir. 1993).

 3          Moreover, Plaintiffs’ Section 20A claims independently fail because Plaintiffs do not

 4   adequately allege that any specific Defendant traded contemporaneously with Plaintiffs. See Mem.

 5   at 20. Plaintiffs’ Opposition does not meaningfully engage with this argument, instead asserting

 6   generally that allegations about Dfinity’s purported sales of ICP at or around the time of Plaintiffs’

 7   sales are sufficient. See Opp. at 19-20. This misses the point. First, Plaintiffs’ general allegations

 8   that “Defendants and those they controlled” or “Dfinity” sold ICP, SAC ¶¶ 57-61, are insufficient

 9   to allege contemporaneous trading by the specific named Defendants, see Mem. at 20; In re JDS

10   Uniphase Corp. Sec. Litig., 2003 WL 26615705, at *9 (N.D. Cal. Nov. 3, 2003) (finding Section

11   20A claim “deficient as to Defendant FEC because it does not allege that FEC itself actually traded

12   JDSU stock” but rather did so through subsidiaries). Plaintiffs’ Opposition entirely ignores this

13   shortcoming. Plaintiffs further concede that the SAC fails to allege that Mr. Williams specifically

14   sold any ICP. And while the Opposition points to the SAC’s conclusory allegation that “the

15   Foundation” began selling ICP “as soon as the ICO launched on May 10, 2021,” SAC ¶ 55, the

16   Opposition fails to grapple with the contradictory (and equally conclusory) allegation elsewhere

17   that the “Foundation” purportedly began to sell ICP later than that date, see ¶ 133(d) (alleging sales

18   “no later than May 24, 2021”). These and other allegations concerning Defendants’ sales are either

19   conclusory or inadequately pleaded under the heighted pleading requirements applicable to these

20   claims. See supra, pp. 6-7; In re JDS, 2003 WL 26615705, at *9 (noting that Section 20A claims

21   must meet the heightened pleading standards of both Rule 9(b) and the PSLRA). For these reasons,

22   Plaintiffs fail to adequately allege the contemporaneous trading required under Section 20A.

23   IV.    PLAINTIFFS’ CONTROL PERSON CLAIMS SHOULD BE DISMISSED.

24          Plaintiffs fail to plead a primary violation under Section 15 of the Securities Act or Section

25   20(a) of the Exchange Act. Plaintiffs’ control person claims necessarily fail. See Mem. at 20.

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 1                                         Respectfully Submitted,

 2    Dated:      July 12, 2024
                                           QUINN EMANUEL URQUHART & SULLIVAN
 3
                                           LLP
 4
                                            /s/ Michael E. Liftik
 5                                         Michael E. Liftik (CA Bar No. 232430)
                                           Sarah Heaton Concannon (pro hac vice)
 6                                         1300 I Street, Suite 900
                                           Washington, D.C. 20005
 7
                                           Telephone: (202) 538-8000
 8                                         michaelliftik@quinnemanuel.com
                                           sarahconcannon@quinnemanuel.com
 9

10                                         Emily C. Kapur (CA Bar No. 306724)
                                           555 Twin Dolphin Dr., 5th Fl.
11                                         Redwood Shores, California 94065
                                           Telephone: (650) 801-5000
12                                         emilykapur@quinnemanuel.com
13
                                           Brenna D. Nelinson (pro hac vice)
14                                         51 Madison Avenue, 22nd Fl.
                                           New York, New York 10010
15                                         Telephone: (212) 849-7000
                                           brennanelinson@quinnemanuel.com
16

17
                                           CRAVATH, SWAINE & MOORE LLP
18
                                           Antony L. Ryan (pro hac vice)
19                                         Kevin J. Orsini (pro hac vice)
                                           Lauren M. Rosenberg (pro hac vice)
20                                         Worldwide Plaza
21                                         825 Eighth Avenue
                                           New York, New York 10019
22                                         Tel.: (212) 474-1000
                                           Fax: (212) 474-3700
23                                         korsini@cravath.com
24

25                                         Counsel for Defendants

26

27

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